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                    UNITED STATES COURT OF INTERNATIONAL TRADE



       Zenith Home Corp and Maytex Mills, Inc.,
                                                                                  Court No. 20-00212
                              Plaintiffs,

               v.

       The United States of America; Office of the United
       States Trade Representative; Robert E. Lighthizer, U.S.
       Trade Representative; U.S. Customs and Border
       Protection; and Mark A. Morgan, U.S. Customs and
       Border Protection Acting Commissioner,

                              Defendants.

                                            COMPLAINT

        Plaintiffs, Zenith Home Corp and Maytex Mills, Inc., (hereafter “plaintiff”) by and

 through their attorneys, allege and state the following:

1.     This action concerns Defendants’ prosecution of an unprecedented, unbounded, and

       unlimited trade war impacting over $500 billion in imports from the People’s Republic of

       China. This Complaint focuses on Defendants’ unlawful escalation of that trade war through

       the imposition of a third round of tariffs on products covered by so-called “List 3. ”Notice of

       Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

       Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 47,974 (Sept. 21,

       2018) and a fourth round of tariffs on products covered by so-called “List 4. ” Notice of

       Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

       Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 43,304 (Aug. 20,

       2019)
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2.   The Trade Act of 1974 (“Trade Act”) does not confer authority on Defendants to engage in

     a vast trade war for however long, and by whatever means, they choose. The Office of the

     United States Trade Representative (“USTR”) conducted an investigation into China’s

     unfair intellectual property policies and practices pursuant to Section 301 of the Trade Act

     (19 U.S.C. § 2411). Section 304 of the Trade Act (19 U.S.C. § 2414) required USTR to

     determine what action to take, if any, within 12 months after initiation of that investigation.

     USTR failed to issue List 3 and List 4 within that window. USTR may not fall back on its

     “modification” authority under Section 307 of the Trade Act (19 U.S.C. § 2417) to salvage

     List 3 and List 4. Section 307 of the Trade Act does not permit USTR to expand the

     imposition of tariffs to other imports from China for reasons untethered to the unfair

     intellectual property policies and practices it originally investigated under Section 301 of

     the Trade Act. Yet that is exactly what Defendants did here when they promulgated the List

     3 and List 4        duties in       response to China’s retaliatory duties and other

     unrelated issues. Even if USTR deems the existing tariffs “no longer appropriate,” as it also

     did here, the Trade Act permits USTR only to delay, taper, or terminate—not ratchet up—

     the actions it has already taken.

3.   The arbitrary manner in which Defendants implemented the List 3 tariff action also violates

     the Administrative Procedure Act (“APA”). USTR (1) failed to provide sufficient

     opportunity for comment, e.g., requiring interested parties to submit affirmative and rebuttal

     comments on the same day, (2) failed to consider relevant factors when making its decision,

     e.g., undertaking no analysis of the supposed “increased burden” imposed on U.S. commerce

     from the unfair policies and practices that it originally investigated; and (3) failed to connect

     the record facts to the choices it made. Indeed, despite receiving over 6,000 comments, USTR
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     said absolutely nothing about how those comments shaped its final promulgation of List 3.

     USTR’s preordained decision-making bears no resemblance to the standards that the APA

     demands.

4.   The arbitrary manner in which Defendants implemented the List 4 tariff action also violates

     the Administrative Procedure Act (“APA”). USTR (1) failed to provide sufficient

     opportunity for comment, only providing for written comments and limited rebuttal

     comments only to post-hearing comments on testimony provided at the hearing, (2) failed to

     consider relevant factors when making its decision, e.g., undertaking no analysis of the

     supposed “increased burden” imposed on U.S. commerce from the unfair policies and

     practices that it originally investigated; and (3) failed to connect the record facts to the

     choices it made. Indeed, despite receiving over 2800 comments, USTR said nothing about

     how those comments shaped its final promulgation of List 4. USTR’s preordained decision-

     making bears no resemblance to the standards that the APA demands.

5.   The Court should set aside Defendants’ actions as ultra vires and otherwise contrary to law,

     as well as order Defendants to refund (with interest) any duties paid by Plaintiff pursuant to

     Lists 3 and 4.

                                         JURISDICTION

6.   The Court possesses subject matter jurisdiction over this action pursuant to 28 U.S.C. §

     1581(i)(l )(B), which confers “exclusive jurisdiction” to the Court over “any civil action

     commenced against the United States, its agencies, or its officers, that arises out of any law

     of the United States providing f o r . . . tariffs, duties, fees, or other taxes on the importation

     of merchandise for reasons other than the raising of revenue.” 28 U.S.C. § 1581(i)(l)(B)

                                             PARTIES
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7.       Plaintiffs are U.S. corporation. Plaintiffs imported and sold various products subject to

         enhanced duties under Lists 3 and/or 4A including, but not limited to, the following:

 Product Type                      HTS Code       List   Product Type                          HTS Code       List
 Adhesive Hanger PLASTIC
                                                  3      Aluminum - Pole Caddy                 9403.20.0018   3
 & STICKER                         3919.90.5060
 Toilet seats, plastic, smart or
                                                  3      Metal - Furniture, Spacesavers        9403.20.0018   3
 otherwise                         3922.90.0000
                                                         Mixed material- Floor Standing
                                                  3                                            9403.20.0018   3
 PVC pouch PVC                     3923.29.0000          SPS
 PLASTIC HANGER
                                                  3      Metal - Displays                      9403.20.0020   3
 PLASTIC                           3923.90.0080
                                                         shoes rack, closet clothing rack
 Rubber - Bathmats                 4016.91.0000   3                                                           3
                                                         metal                                 9403.20.0020
 Shower Mesh Tote textile
                                                  3      Metal - Pole caddies                  9403.20.0021   3
 materials                         4202.92.4500
                                                         Frameless Aluminum LED Med
                                                  3                                                           3
 PVC Mesh Totes Bag                4202.92.4500          Cab                                   9403.20.0030
 WODEN PALLETS WOOD                4415.10.3000   3      Aluminum, Steel Med Cab               9403.20.0030   3
                                                         Wood - Furniture, Assembled
 MDF - Moldings and frames         4418.99.9000   3                                                           3
                                                         Med Cabinets                          9403.60.8081
 Wood, Bamboo and MDF -                           3      Wood - Wall Cabinets, RTA                            3
 Accessories and shelves           4420.90.8000          Med Cabinets, Vanities                9403.60.8081
 WOODEN DISPLAY
                                                  3                                                           3
 WOOD                              4420.90.8000          Stainless steel - Laundry Cabinet     9403.60.8081
                                                         paperboard display box customs
                                                  3      ruling# NY D89629 paper,                             3
 Wooden Dowel                      4421.91.2000          paperboard                            9403.89.6020
                                                         Wood - RTF Doors for Wall
                                                  3                                                           3
 Wicker Basket                     4602.11.3500          Cabinets, Vanities                    9403.90.7080
 Corrugate - Printed                                     Aluminum - Suction Mirror
                                   4819.10.0040   3                                            3924.90.5650   4A
 (Packaging)                                             (Plastic Mirror)
 corrugated paper carton                                 Plastic Polyresin Accessories -
                                                  3                                            3924.90.5650   4A
 PAPER                             4819.10.0040          Suction Cup, Suction Mirror
 Paper and paperboard self                               Stainless Steel - Suction Mirror
                                   4821.10.4000   3                                            3924.90.5650   4A
 adhesive labels                                         (Plastic Mirror)
 Paper labels not printed-                        3      Plastic hook (plastic magnetic                       4A
 Self-adhesive paper               4821.90.2000          rope) plastic the like                3924.90.5650
 PDQ PAPERBOARD
 DISPLAY BOX PAPER                                3      Plastic- shower head, Caddies,                       4A
 CORRUGATED BOX                    4823.90.8600          Hooks                                 3924.90.5650
 Cotton (100%) - Rug, Tufted       5703.90.0000   3      Toilet brush holder, plastic          3924.90.5650   4A
 Glass (Tempered) - Shelves        7007.29.0000   3      Hardware bag, mainly plastic          3926.30.5000   4A
 Mirrors - Unframed, Under
                                   7009.91.1090   3      Plastic - Hardware                    3926.30.5000   4A
 929 cm2
 Mirrors - Unframed, OVER
                                   7009.91.5090   3      Plastic - End Caps                    3926.90.9990   4A
 929 cm2
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 Product Type                  HTS Code       List   Product Type                         HTS Code       List
                                                     Packing cases, boxes, crates,
                                                     drums and similar packings, of
 Mirrors - Framed, Under 929
                               7009.92.1090   3      wood; cable-drums, of wood;                         4A
 cm2
                                                     pallets, box-pallets and other
                                                     load boards, of wood; WOOD           4415.10.3000
 Mirrors - Framed, OVER
                               7009.92.5090   3      Cardstock - Printed (packaging)      4911.91.4040   4A
 929 cm2
 Screws - Wood Screw           7318.12.0000   3      paper inserts/belly bands paper      4911.99.6000   4A
                                                     Cotton (100%) - Towels, Terry
                                              3                                           6302.60.0020   4A
 Screw Kit metal base          7318.14.1060          Cloth
                                                     Fabric shower curtain Synthetic
 Screws - Machine Screw        7318.15.4000   3                                                          4A
                                                     (knitted) Polyester >=50%            6303.12.0090
 Metal - TUM, WB, TC,                                Cotton (100%) - Curtains and
                               7323.99.9080   3                                           6303.91.0020   4A
 Trays, Step Cans                                    Liners
                                                     Fabric window curtain Synthetic
 Metal - Most BAs; caddies     7324.90.0000   3                                                          4A
                                                     Polyester >=50%                      6303.92.2010
 Metal - Other Articles Of
                               7326.20.0071   3      Polyester - Curtains and Liners      6303.92.2050   4A
 Iron Or Steel Wire
                                                     Fabric shower curtain Synthetic
 Screws - Brass                7415.33.0500   3                                                          4A
                                                     (woven) Polyester >=50%              6303.92.2050
 Aluminum - BAs and Wire                             Sofa, love seat slipcover
                               7615.20.0000   3                                                          4A
 Caddies                                             polyester >=50% knit (spandex)       6304.91.0140
                                                     Textile, Other vegetable Fibers -
 Hinges - Metal, Not brass     8302.10.6060   3                                                          4A
                                                     Accessories                          6304.99.3500
 Hinges - Brass                8302.10.9060   3      Textile - Mesh Caddy                 6307.90.9889   4A
                                                     Bathroom mesh organizer
 Metal - Casters               8302.20.0000   3      (CANDY) MAN-MADE                                    4A
                                                     FABRIC                               6307.90.9889
 Hooks and Rings -
                               8302.41.6050   3      Ceramic - Sinks                      6910.90.0000   4A
 Aluminum/Zinc/Steel
 Metal - Bath and Window
                               8302.41.6050   3      Porcelain - Bath Accessories         6911.90.0010   4A
 Hardware
 Rods - Steel, Aluminum,
                               8302.41.6050   3      Glass - Tumblers, under $3           7013.37.2000   4A
 Stainless
 Metal - Brackets              8302.41.6080   3      Glass - Tumblers, $3-5               7013.37.5000   4A
 Aluminum - Suction Hooks,
                               8302.50.0000   3      Glass - Tumblers, over $5            7013.37.6000   4A
 Towel Bars
 Metal - Wire Shelves, Bath                          Glass (cut or engraved) -
                               8302.50.0000   3                                           7013.99.7000   4A
 Hardware                                            Accessories, over $5
 Mixed Material-Metal/Wood                           Glass - Bath Accessories, over
                               8302.50.0000   3                                           7013.99.9000   4A
 WC, WS                                              $5
 Stainless Steel- Suction
                               8302.50.0000   3      Aluminum - Suction Baskets           7615.10.9100   4A
 Hooks, Towel Bars
 Metal wood blended hook                      3      Aluminum - Other Accessories         7615.10.9100   4A
 metal and wood blended        8302.50.0000
 Faucet Kit - Plastic faucet
                               8481.80.5060   3      Metal - Hardware                     8302.42.3065   4A
 and installation kit
 Magnets - not flexible        8505.19.3000   3      Squeegee                             9603.90.8050   4A



8.      Defendant United States of America received the disputed tariffs and is the statutory
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      defendant under 5 U.S.C. § 702 and 28 U.S.C. § 1581(i)(1)(B).

9.    The Office of the USTR is an executive agency of the United States charged with

      investigating a foreign country’s trade practices under Section 301 of the Trade Act and

      implementing “appropriate” responses, subject to the direction of the President. USTR

      conducted the Section 301 investigation at issue and made numerous decisions regarding

      Lists 3 and 4.

10.   Ambassador Robert Lighthizer currently holds the position of USTR and serves as the

      director of the Office of the USTR. In these capacities, he made numerous decisions

      regarding Lists 3 and 4.

11.   Defendant U.S. Customs & Border Protection (“CBP”) is the agency that collects duties on

      imports. CBP collected payments made by Plaintiffs to account for the tariffs imposed by

      USTR under Lists 3 and 4.

12.   Defendant Mark A. Morgan is the Acting Commissioner of CBP. In this capacity, he oversees

      CBP’s collection of duties paid by Plaintiffs under Lists 3 and 4.


                                          STANDING

13.   Plaintiff has standing to sue because they are “adversely affected or aggrieved by agency

      action within the meaning of” the APA. 5 U.S.C. § 702; see 28 U.S.C. § 263 l(i) (“Any civil

      action of which the Court of International Trade has jurisdiction . . . may be commenced in

      the court by any person adversely affected or aggrieved by agency action within the meaning

      of Section 702 of title 5.”). Tariffs imposed by Defendants pursuant to List 3 and 4 adversely

      affected and aggrieved plaintiffs because they were required to pay these unlawful duties.

                             TIMELINESS OF THE ACTION

14.   A plaintiff must commence an action under 28 U.S.C. § 1581(i)(1)(B) “within two years
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      after the cause of action first accrues.” 28 U.S.C. § 2636(i).

15.   The instant action contests action taken by Defendants that resulted in List 3 and 4. Notice of

      Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

      Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 47,974 (Sept. 21,

      2018) and Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices

      Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 43,304

      (Aug. 20, 2019).

16.   Plaintiff’s claims accrued at the earliest on September 21, 2018, when USTR published notice

      of List 3 in the Federal Register. Id. Plaintiffs have therefore timely filed this action.

                                        RELEVANT LAW

17.   Section 301 of the Trade Act authorizes USTR to investigate a foreign country’s

      trade practices. 19 U.S.C. § 2411(b). If the investigation reveals an “unreasonable or

      discriminatory” practice, USTR may take “appropriate” action, such as imposing tariffs on

      imports from the country that administered the unfair practice. Id. § 2411(b), (c)(1)(B).

18.   Section 304 of the Trade Act requires USTR to determine what action to take, if any, within

      12 months after the initiation of the underlying investigation. Id. § 2414(a)(1)(B), (2)(B).

19.   Section 307 of the Trade Act (in pertinent part) allows USTR to “modify or

      terminate” an action taken pursuant to Section 301 of the Trade Act either when the “burden

      or restriction on United States commerce” imposed by the investigated foreign country’s

      practice has “increased or decreased” or when the action “is no longer appropriate.” Id. §

      2417(a)(1)(B), (C).

                                   PROCEDURAL HISTORY

         I. USTR’s Investigation
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20.   The current U.S.-China trade war grew from a narrow dispute. On August 14, 2017, President

      Trump directed Ambassador Lighthizer to consider initiating a targeted investigation

      pursuant to Section 301(b) of the Trade Act concerning China’s laws, policies, practices, and

      actions related to intellectual property, innovation, and technology. Addressing China’s

      Laws, Policies, Practices, and Actions Related to Intellectual Property, Innovation, and

      Technology, 82 Fed. Reg. 39,007 (Aug. 17, 2017). According to the President, certain

      Chinese “laws, policies, practices, and actions” on intellectual property, innovation, and

      technology “may inhibit United States exports, deprive United States citizens of fair

      remuneration for their innovations, divert American jobs to workers in China, contribute to

      our trade deficit with China, and otherwise undermine American manufacturing, services,

      and innovation.” Id.

21.   On    August          18,      2017,        USTR    formally     initiated     an     investigation      into

      “whether acts, policies, and practices of the Government of China related to technology

      transfer, intellectual property, and innovation are actionable under [Section 301(b) of] the

      Trade Act.” Initiation of Section 301 Investigation; Hearing; and Request for Public

      Comments: China’s Acts, Policies, and Practices Related to Technology Transfer,

      Intellectual Property, and Innovation, 82 Fed. Reg. 40,213 (Aug. 24, 2017)

22.   Seven months later, on March 22, 2018, USTR released a report announcing the

      results   of    its        investigation.    OFFICE      OF     THE   UNITED          STATES      TRADE

      REPRESENTATIVE, Findings of the Investigation Into China’s Acts, Policies, And

      Practices Related to Technology Transfer, Intellectual Property, and Innovation Under

      Section   301         of     The   Trade      Act   of   1974    (Mar.       22,    2018),   available     at

      ttps://ustr.gov/sites/default/files/Section%20301%20FINAL.PDF. USTR found that certain
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      “acts, policies, and practices of the Chinese government related to technology transfer,

      intellectual property, and innovation are unreasonable or discriminatory and burden or

      restrict U.S. commerce.” Id. at 17. USTR based its findings on (1) China’s use of foreign

      ownership restrictions, foreign investment restrictions, and administrative licensing and

      approval processes to pressure technology transfers from U.S. to Chinese companies, id. at

      45; (2) China’s use of licensing processes to transfer technologies from U.S. to Chinese

      companies on terms that favor Chinese recipients, id. at 48; (3) China’s facilitation of

      systematic investment in, and acquisition of, U.S. companies and assets by Chinese entities

      to obtain technologies and intellectual property for purposes of large-scale technology

      transfer, id. at 147; and (4) China’s cyber intrusions into U.S. computer networks to gain

      access to valuable business information, id. at 171. In its report, USTR did not quantify the

      burden or restriction imposed on U.S. commerce by the investigated practices.

23.   On the same date, USTR published a “Fact Sheet” stating that “[a]n interagency team of

      subject matter experts and economists estimates that China’s policies result in harm to the

      U.S. economy of at least $50 billion per year.” OFFICE OF THE UNITED STATES TRADE

      REPRESENTATIVE, Section           301    Fact Sheet (Mar. 22,         2018), available     at

      https://ustr.gov/aboutus/policy-offices/press-office/fact-sheets/2018/march/Section-301-

      fact-sheet. USTR also indicated that, consistent with a directive from President Trump, it

      would “propose additional tariffs” of 25% ad valorem “on certain products of China, with an

      annual trade value commensurate with the harm caused to the U.S. economy resulting from

      China’s unfair policies.” Id.; see Actions by the United States Related to the Section 301

      Investigation of China’s Laws, Policies, Practices, or Actions Related to Technology

      Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 13,099 (Mar. 27, 2018)
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      (President Trump’s directive).

      II.     Lists 1 & 2

24.   Between April and August 2018 (i.e., within the 12-month statutory deadline from the

      initiation of the investigation in August 2017, see 19 U.S.C. § 2414(a)(2)(B)), Defendants

      undertook a series of actions to remedy the estimated harm to the U.S. economy caused by

      the investigated unfair practices, ultimately imposing duties on imports from China covered

      by the so called Lists 1 and 2.

25.   On April 6, 2018, USTR published notice of its intent to impose “an additional duty of 25

      percent on a list of products of Chinese origin.” Notice of Determination and Request for

      Public Comment Concerning Proposed Determination of Action Pursuant to Section 301:

      China 's Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property,

      and Innovation, 83 Fed. Reg. 14,906, 14,907 (Apr. 6, 2018). The products on the proposed

      list covered 1,333 tariff subheadings with a total value of “approximately $50 billion in terms

      of estimated annual trade value for calendar year 2018.” Id. at 14,907. USTR explained that

      it chose $50 billion because that amount was “commensurate with an economic analysis of

      the harm caused by China’s unreasonable technology transfer policies to the U.S. economy,

      as covered by USTR’s Section 301 investigation.” OFFICE OF THE UNITED STATES

      TRADE REPRESENTATIVE, Under Section 301 Action, USTR Releases Proposed Tariff

      List on Chinese Products (Apr. 3, 2018), available at https://ustr.gov/about-us/policy-

      offices/press-office/press-releases/2018/april/under-section-301-action-ustr

26.   On June 20, 2018, USTR published notice of its final list of products subject to an additional

      duty of 25% ad valorem, a list commonly known as “List 1.” Notice of Action and Request

      for Public Comment Concerning Proposed Determination of Action Pursuant to Section 301:
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      China 's Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property,

      and Innovation, 83 Fed. Reg. 28,710 (June 20, 2018). USTR explained that it had

      “narrow[ed] the proposed list in the April 6, 2018 notice to 818 tariff subheadings, with an

      approximate annual trade value of $34 billion.” Id. at 28,711.

27.   At the same time that it finalized List 1, USTR announced that it intended to impose a 25%

      ad valorem duty on a second proposed list of Chinese products in order to “maintain the

      effectiveness of [the] $50 billion trade action” grounded in its Section 301 investigation. Id.

      at 28,712. USTR announced a proposed “List 2” covering 284 tariff subheadings with “an

      approximate annual trade value of $16 billion.” Id. at 28,711-12.

28.   On August 16, 2018, USTR published notice of the final list of products subject to an

      additional duty of 25% ad valorem in List 2, comprising “279 tariff subheadings” whose

      “annual trade value . . . remains approximately $16 billion.” Notice of Action Pursuant to

      Section 301: China’s Acts, Policies, and Practices Related to Technology Transfer,

      Intellectual Property, and Innovation, 83 Fed. Reg. 40,823, 40,823-24 (Aug. 16, 2018).

      III.    List 3 & List 4

29.    As soon as USTR announced the results of its investigation in March 2018, tensions

      between the governments of China and the United States escalated dramatically. In the

      months that followed, Defendants wildly expanded the scope of the tariffs imposed under

      Section 301 of the Trade Act to cover imports worth more than $500 billion—ten times the

      amount it had deemed “commensurate” with the findings of USTR’s original investigation.

      Defendants did so for reasons untethered to the unfair practices that USTR had investigated,

      namely China’s tit-for-tat countermeasures and a hodgepodge of grievances related to

      China’s role on the world stage.
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      A. List 3

30.   Shortly after President Trump directed USTR in April 2018 to consider imposing duties on

      $50 billion in Chinese products, China promptly threatened to impose retaliatory duties on

      the same value of imports from the United States. In response, President Trump “instructed

      the USTR to consider whether $100 billion of additional tariffs would be appropriate under

      Section 301” due to “China’s unfair retaliation.” THE WHITE FIOUSE, Statement from

      Donald J. Trump on Additional Proposed Section 301 Remedies (Apr. 5, 2018), available at

      https://www.whitehouse.gov/briefmgs-statements/statement-president-donald-j-trump-

      additional-proposed-section-301-remedies/.

31.   When USTR finalized List 1 in mid-June 2018, President Trump warned China that he would

      consider imposing additional tariffs on Chinese goods if China retaliated against the United

      States. E.g., Vicki Needham & Max Greenwood, Trump Announces Tariffs on $50 Billion in

      Chinese      Goods,       THE       HILL       (June     15,      2018),      available      at

      http://thehill.com/homenews/administration/39242l-trump-announces-tariffs-on-50-billion-

      in-chinese-goods (“The president said the United States will pursue additional tariffs if China

      retaliates ‘such as imposing new tariffs on United States goods, services or agricultural

      products; raising non-tariff barriers; or taking punitive actions against American exporters or

      American companies operating in China.’”)

32.   Following through on his warning, on June 18, 2018, President Trump formally directed

      USTR to consider whether the United States should impose additional duties on products

      from China with an estimated trade value of $200 billion—despite USTR having not yet

      implemented List 1 and List 2. President Trump acknowledged that China’s threatened

      retaliatory “tariffs on $50 billion worth of United States exports” motivated his decision.
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      THE WHITE HOUSE, Statement from the President Regarding Trade with China (June 18,

      2018), available at https://www.whitehouse.gov/briefings-statements/statement-president-

      regarding-trade-china-2/ (“This latest action by China clearly indicates its determination to

      keep the United States at a permanent and unfair disadvantage, which is reflected in our

      massive $376 billion trade imbalance in goods. This is unacceptable.”).

33.   Acknowledging the purpose of the President’s directive, USTR stated that it would design

      the newly proposed duties to address China’s threatened retaliatory measures, rather than any

      of the harms identified in its Section 301 investigation. OFFICE OF THE UNITED STATES

      TRADE REPRESENTATIVE, USTR Robert Lighthizer Statement on the President 's

      Additional China Trade Action (June 18, 2018), available at https://ustr.gov/about-us/policy-

      offices/press-office/press- releases/2018/june/ustr-robert-lighthizer-statement-0 (explaining

      that, although Lists 1 and 2 “were proportionate and responsive to forced technology transfer

      and intellectual property theft by the Chinese” identified in the Section 301 investigation, the

      proposed duties for a third list of products were necessary to respond to the retaliatory and

      “unjustified tariffs” that China may impose to target “U.S. workers, farmers, ranchers, and

      businesses”).

34.   Despite these warnings from Defendants, China retaliated by imposing 25% ad valorem

      tariffs on $50 billion in U.S. goods implemented in two stages of $34 billion and $16 billion

      on the same dates the United States began collecting its own 25% tariffs under List 1 (July

      6, 2018) and List 2 (August 23, 2018).

35.   About a week after China imposed its first round of retaliatory duties, USTR published notice

      of its proposal to “modify the action in this investigation by maintaining the original $34

      billion action and the proposed $16 billion action, and by taking a further, supplemental
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      action” in the form of “an additional 10 percent ad valorem duty on [a list of] products [from]

      China with an annual trade value of approximately $200 billion.” Request for Comments

      Concerning Proposed Modification of Action Pursuant to Section 301: China’s Acts,

      Policies, and Practices Related to Technology Transfer, Intellectual Properly, and

      Innovation, 83 Fed. Reg. 33,608, 33,608 (July 17, 2018). USTR invoked Section

      307(a)(1)(C) of the Trade Act, pursuant to which USTR “may modify or terminate any action,

      subject to the specific direction, if any, of the President with respect to such action, . . . if . .

      . such action is being taken under [Section 301(b)] of this title and is no longer appropriate.”

      Id. at 33,609 (citing 19 U.S.C. § 2417(a)(1)(c)). USTR initially set a deadline of August 17,

      2018 for initial comments; August 20-23, 2018 for a public hearing; and August 30, 2018 for

      rebuttal comments. Id. at 33,608.

36.   In its notice, USTR confirmed that it had relied on China’s decision to impose “retaliatory

      duties” as the primary basis for its proposed action. Id. at 33,609 (asserting as justification

      “China’s response to the $50 billion action announced in the investigation and its refusal to

      change its acts, policies, and practices”). USTR explicitly tied the $200 billion in its proposed

      action to the level of retaliatory duties imposed by China on U.S. imports, noting that “action

      at this level is appropriate in light of the level of China’s announced retaliatory action ($50

      billion) and the level of Chinese goods imported into the United States ($505 billion in

      2017).” Id.; see also id. (Because “China’s retaliatory action covers a substantial percentage

      of U.S. goods exported to China ($130 billion in 2017), the level of the U.S. supplemental

      action must cover a substantial percentage of Chinese imports.”). Although it pointed to

      China’s retaliatory measures, USTR did not identify any increased burdens or restrictions on

      U.S. commerce resulting from the unfair practices that USTR had investigated. See id.
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37.   USTR’s contemporaneous press statements corroborated the contents of its notice: China’s

      retaliatory duties motivated its proposed action. Ambassador Lighthizer stated that the

      proposed action came “[a]s a result of China’s retaliation and failure to change its practice.”

      OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, Statement by U.S.

      Trade Representative Robert Lighthizer on Section 301 Action (July 10, 2018), available at

      https://ustr.gov/aboutus/policy-offices/press-office/press-releases/2018/july/statement-us-

      trade-representative.

38.   That same day, President Trump suggested that the United States’ trade imbalance with

      China supported the decision. @realDonaldTrump, TWITTER (July 10, 2018, 9:17 PM

      EDT),       https://twitter.com/realDonaldTmmp/status/1005982266496094209.           Over     the

      following weeks, President Trump also expressed his frustration over China’s purported

      manipulation of its currency and national monetary policy, as well as his continued

      displeasure over China’s retaliatory tariffs and the trade imbalance between the two nations.

      See,      e.g.,   @realDonaldTrump,       Twitter    (July   20,    2018,   8:43   AM     EDT),

      https://twitter.com/realDonaldTaimp/status/1020287981020729344;             @realDonaldTrump,

      TWITTER           (July     20,   2018,   8:51    AM     EDT),     https://twitter.com/realDonald

      Trump/status/1020290163933630464; @realDonaldTrump, TWITTER (July 25, 2018, 7:20 AM

      EDT),        https://twitter.com/realDonaldTrump/status/1022079127799701504;@realDonaldTrump,

      Twitter             (July           25,          2018,           7:01        AM             EDT),

      https://twitter.com/realDonaldTrump/status/1022074252999225344.

39.   Within days of these statements, Ambassador Lighthizer announced that, in light of China’s

      retaliatory duties, USTR would propose to increase the additional duty from 10% to 25% ad

      valorem. Rather than addressing the practices that USTR investigated pursuant to Section

      301 of the Trade Act, he stated that China “[r]egrettably . . . has illegally retaliated against
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      U.S. workers, farmers, ranchers and businesses.” OFFICE OF THE UNITED STATES

      TRADE REPRESENTATIVE, Statement by U.S. Trade Representative Robert Lighthizer on

      Section 301 Action (Aug. 1, 2018), available at https://ustr.gov/about-us/policy-

      offices/press-office/press-releases/2018/august/statement-us-trade-representative.

40.   Shortly thereafter, USTR, at the direction of President Trump, formally proposed “raising the

      level of the additional duty in the proposed supplemental action from 10 percent to 25

      percent.” Extension of Public Comment Period Concerning Proposed Modification of Action

      Pursuant to Section 301: China’s Acts, Policies, and Practices Related to Technology

      Transfer,Intellectual Property, and Innovation, 83 Fed. Reg. 38,760, 38,760 (Aug. 7, 2018).

      USTR also set new dates for a public hearing over six days ending on August 27, 2018. See

      id.; see also OFFICEOF THE UNITED STATES TRADE REPRESENTATIVE, Public

      Hearings on Proposed Section 301 Tariff List (Aug. 17, 2018) (modifying hearing schedule),

      available             at             https://ustr.gov/about-us/policyoffices/press-office/press-

      releases/2018/august/public-hearings-proposed-section-301.

41.   At the same time, USTR adjusted the deadlines for the submission of written comments,

      setting September 6, 2018—less than a month later—as the new deadline for both initial and

      rebuttal comments from the public. 83 Fed. Reg. at 38,761. That adjustment, deviating from

      its past practices, prevented both USTR and the public from considering initial comments at

      the hearing, and left insufficient time for interested parties to review and respond to the initial

      comments filed by other parties. USTR also limited each hearing participant to five minutes.

      Docket No. USTR-2018-0026, https://beta.regulations.gov/document/USTR-2018-0026-

      0001. Despite those obstacles, approximately 350 witnesses appeared at the six-day hearing,

      and the public submitted over 6,000 comments.
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42.   Just eleven days after receiving final comments from the public, President Trump announced

      that he had directed USTR “to proceed with placing additional tariffs on roughly $200 billion

      of imports from China.” THE WHITE HOUSE, Statement from the President (Sep. 17, 2018)

      https://www.whitehouse.gov/briefmgs-statements/statement-from-the-president-4/.               Once

      again. the President made clear that China’s response to the $50 billion tariff action (i.e., List

      1 and List 2 duties) motived his decision, and he immediately promised to proceed with

      “phase three” of the plan—an additional $267 billion tariff action—“if China takes

      retaliatory action against our farmers or other industries.” Id.

43.   Following the President’s announcement, USTR published notice of the final list of products

      subject to an additional duty, a list commonly known as “List 3.” 83 Fed. Reg. at 47,974.

      USTR imposed a 10% ad valorem tariff that was set to rise automatically to 25% on January

      1, 2019. Id. USTR determined that the List 3 duties would apply to all listed products that

      enter the United States from China on or after September 24, 2018. Id. USTR did not respond

      to any of the over 6,000 comments that it received or any of the testimony provided by

      roughly 350 witnesses. Id.

44.   As legal support for its action, USTR for the first time cited Section 307(a)(1)(B) of the Trade

      Act, which provides that USTR “may modify or terminate any action, subject to the specific

      direction . . . of the President . . . taken under Section 301 if . . . the burden or restriction on

      United States commerce of the denial of rights, or of the acts, policies, or practices, that are

      the subject of such action has increased or decreased.” Id. (brackets omitted). USTR stated

      that the relevant burden “continues to increase, including following the one-year

      investigation period,” adding that “China’s unfair acts, policies, and practices include not just

      its specific technology transfer and IP polices referenced in the notice of initiation in the
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      investigation, but also China’s subsequent defensive actions taken to maintain those

      policies.” Id. USTR also cited Section 307(a)(1)(C) of the Trade Act, arguing that China’s

      response to the $50 billion tariff action “has shown that the current action no longer is

      appropriate” because “China openly has responded to the current action by choosing to cause

      further harm to the U.S. economy, by increasing duties on U.S. exports to China.” Id. at

      47,975.

45.   In the months that followed, China and the United States attempted to resolve their

      differences through trade negotiations. Based on the progress made with China in those

      negotiations, the Trump Administration announced in December 2018, and again in February

      2019, that it would delay the scheduled increase in the List 3 duty rate from 10 to 25%. Notice

      of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

      Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 65,198 (Dec. 19,

      2018); Notice of Modification of Section 301 Action: China\s Acts, Policies, and Practices

      Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 7,966

      (Mar. 5, 2019).

46.   The trade negotiations ultimately fell apart. In May 2019, USTR announced its intent to raise

      the tariff rate on List 3 goods to 25%, effective either May 10, 2019 or June 1, 2019,

      depending on the day of export. See Notice of Modification of Section 301 Action: China's

      Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

      Innovation, 84 Fed. Reg. 20,459 (May 9, 2019) (“List 3 Rate Increase Notice”), see also

      Implementing Modification to Section 301 Action: China’s Acts, Policies, and Practices

      Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 21,892

      (May 15, 2019). The notice cited China’s decision to “retreat from specific commitments
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      agreed to in earlier rounds” of negotiations as the basis for the increase in the duty rate. List

      3 Rate Increase Notice, 84 Fed. Reg. at 20,459. Unlike with past imposition of new tariffs,

      USTR did not seek public comment but rather simply announced that the increase would

      occur. Id.

47.   Recognizing that List 3 would cause substantial harm to U.S. companies and consumers, as

      well as the U.S. economy, USTR in June 2019 invited the public to seek exclusions from List

      3 duties on a product-specific basis. Procedures for Requests to Exclude Particular Products

      From the September 2018 Action Pursuant to Section 301: China’s Acts, Policies, and

      Practices Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed.

      Reg. 29,576 (June 24, 2019). Plaintiffs filed numerous requests for exclusion from List 3.

      None of these exclusion requests were granted.

48.   The duties imposed on products covered by List 3 remain in effect as of the date of this

      Complaint, with the exception of the limited number of products for which USTR extended

      its originally granted exclusions from the List 3 duties. See, e.g., Notice of Product Exclusion

      Extensions: China’s Acts, Policies, and Practices Related to Technology Transfer,

      Intellectual Property, and Innovation, 85 Fed. Reg. 48,600 (Aug. 11, 2020).

      B. List 4

49.   On May 17, 2019, a mere eight days after it published notice of its decision to increase the

      duty rate on imports covered by List 3, USTR announced its intent to proceed with yet

      another list—List 4 – covering even more products subject to additional duties. Under

      USTR’s proposal, List 4 would impose an additional duty of 25% ad valorem on products

      worth $300 billion. Request for Comments Concerning Proposed Modification of Action

      Pursuant to Section 301: China's Acts, Policies, and Practices Related to Technology
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      Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 22,564, 22,564 (May 17,

      2019). USTR explained that its decision was motivated by China’s “retreat[] from specific

      commitments made in previous [negotiating] rounds [and] announce[ment of] further

      retaliatory action against U.S. commerce.” Id.

50.    Similar to the process it followed for List 3, USTR invited the public to comment on

      proposed List 4 and participate in a hearing. Id. The public submitted nearly 3,000

      comments. Docket No. USTR-2019-0004, https://beta.regulations.gov/document/USTR-

      2019-0004-0001. Despite the opportunity to comment, the timeline for participation in the

      hearing left little room for meaningful input: USTR required witnesses to submit drafts of

      their testimony by June 10, 2019, some seven days before the deadline for fully developed

      written comments, and then it again limited witnesses to five minutes of testimony at the

      hearing. Id

51.   On August 1, 2019, citing China’s failure to follow through on agricultural purchases and

      to reduce exports of fentanyl flowing into the United States, President Trump announced

      that the List 4 tariffs would become effective September 1, 2019 at a rate of 10% ad

      valorem.      @realDonaldTrump,    TWITTER       (Aug.   1,   2019,   1:26   PM    EDT),

      https://twitter.com/real DonaldTrump/status/1156979446877962243 (noting a “small

      additional Tariff of 10% on the remaining 300 Billion Dollars of goods and products coming

      from China into our Country”).

52.   On August 20, 2019, USTR issued a final notice adopting List 4 in two tranches. Notice of

      Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

      Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 43,304 (Aug. 20,

      2019). List 4A would impose a 10% ad valorem duty on goods worth roughly $120 billion,
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      effective September 1, 2019. Id. at 43,304. List 4B would impose a 10% ad valorem duty

      on the remaining goods (with limited exclusions “based on health, safety, national security,

      and other factors”), effective December 15, 2019. Id. at 43,305. Once again, USTR did not

      address any of the nearly 3,000 comments submitted or any of the testimony provided by

      witnesses, other than to claim that its determination “takes account of the public comments

      and the testimony.” Id.

53.   As legal support for its action, USTR again cited Section 307(a)(1)(B) and (C) of the Trade

      Act, stating that it may modify its prior action taken pursuant to Section 301 of the Trade

      Act if (1) “[t]he burden or restriction on United States commerce” imposed by the

      investigated foreign country practice “has increased or decreased,” or (2) “the action . . . is

      no longer appropriate.” Id. at 43,304. But instead of finding any increased burden on U.S.

      commerce from the practices that were the subject of USTR’s investigation, USTR merely

      pointed to “China’s subsequent defensive actions taken to maintain those unfair acts,

      policies, and practices as determined in that investigation,” including retaliatory tariffs on

      U.S. imports, retreating from commitments during negotiations, and devaluing its currency.

      Id.

54.   Just ten days later, USTR published notice of its decision to increase the tariff rate

      applicable to goods covered by List 4A and List 4B from 10% to 15%. Notice of

      Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

      Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 45,821 (Aug. 30,

      2019). USTR explained that it increased the tariff rate because, shortly after it finalized List

      4A and List 4B, “China responded by announcing further tariffs on U.S. goods.” Id. at

      45,822. USTR once again cited to China’s retreat from its negotiation commitments and
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      devaluation of its currency as grounds for its action. Id.

55.   On December 18, 2019, as a result of successfully negotiating a limited trade deal with

      China, USTR published notice that it would “suspend indefinitely the imposition of

      additional duties of 15 percent on products of China covered by” List 4B. Notice of

      Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

      Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 69,447, 69,447

      (Dec. 18, 2019). USTR also stated its intent to reduce the tariff rate applicable to products

      covered by List 4A, id., an action that ultimately became effective on February 14, 2020,

      when USTR halved the applicable duty rate, Notice of Modification of Section 301 Action:

      China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

      Property, and Innovation, 85 Fed. Reg. 3,741 (Jan. 22, 2020).

56.   In the months that followed, the United States and China implemented the limited trade deal

      that they negotiated near the end of 2019. OFFICE OF THE UNITED STATES TRADE

      REPRESENTATIVE, United States and China Reach Phase One Trade Agreement (Dec.

      13,            2019),             https://ustr.gov/about-us/policy-offices/press-office/press-

      releases/2019/december/united-statesand-china-reach. During that time, Defendants

      declined to impose additional duties on imports covered by List 4B, presumably because

      China had agreed to some new, unrelated obligations under the limited trade deal.

57.   The duties imposed on products covered by List 4A remain in effect as of the date of this

      Complaint. Although the proposed duties on products covered by List 4B remain

      suspended, President Trump has continued to threaten to impose them if China does not

      meet its obligations under their limited trade deal. See, e.g., @realDonaldTrump,

      TWITTER             (June         22,         2020,          10:22         PM          EDT),
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       https://twitter.com/realDonaldTrump/status/1275252814206447618 (“The China Trade

       Deal is fully intact. Hopefully they will continue to live up to the terms of the Agreement!”).

                                    STATEMENT OF CLAIMS

                                           COUNT ONE

      (DECLARATORY JUDGMENT—VIOLATION OF THE TRADE ACT OF 1974)

58.    Paragraphs 1 through 57 are incorporated by reference.

59.    The Declaratory Judgment Act authorizes any court of the United States to “declare the rights

       and other legal relations of any interested party seeking such declaration, whether or not

       further relief is or could be sought.” 28 U.S.C. § 2201(a).

60.    The Trade Act of 1974 does not authorize the actions taken by Defendants that resulted in

       the Lists 3 and 4 tariffs.

61.    Pursuant to Section 301 of the Trade Act, USTR may impose tariffs when it determines that

       “an act, policy, or practice of a foreign country is unreasonable or discriminatory and burdens

       or restricts United States commerce, and action by the United States is appropriate.” 19

       U.S.C. § 2411(b). USTR failed to predicate its actions giving rise to Lists 3 and 4 on any

       such determination.

62.    If USTR concludes upon investigation that a foreign country maintains an unfair trade

       practice, Section 304 of the Trade Act requires USTR to “determine what action, if any,” to

       take within “12 months after the date on which the investigation is initiated.” 19 U.S.C. §

       2414(a)(1)(B), (2)(B). USTR’s action giving rise to List 3 occurred in September 2018, and

       USTR’s action giving rise to List 4 occurred in August 2019, both of which are over a year

       after USTR initiated the underlying Section 301 investigation on August 18, 2017.

63.    Section 307 of the Trade Act authorizes USTR to “modify or terminate” an action taken
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      pursuant to Section 301(b) of the Trade Act when the burden imposed on U.S. commerce

      from the foreign country’s investigated unfair acts, policies, or practices increases or

      decreases. 19 U.S.C. § 2417(a)(1)(B). Section 307 of the Trade Act, however, does not permit

      Defendants to increase tariffs for reasons unrelated to the acts, policies, or practices that

      USTR investigated pursuant to Section 301 of the Trade Act. Congress did not authorize

      USTR to escalate its focused investigatory findings into an open-ended trade war.

64.   Section 307 of the Trade Act also authorizes USTR to “modify or terminate” an action taken

      pursuant to Section 301(b) of the Trade Act if the initial action taken by USTR “is no longer

      appropriate.” 19 U.S.C. § 2417(a)(1)(C). Section 307 of the Trade Act does not authorize

      Defendants to increase tariff actions that are no longer “appropriate,” but rather only to delay,

      taper, or terminate such actions.

65.   Plaintiffs are therefore entitled to a declaratory judgment that Defendants’ actions giving rise

      to Lists 3 and 4 are ultra vires and contrary to law.

                                              COUNT TWO

                (VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT)

66.   Paragraphs 1 through 57 are incorporated by reference.

67.   The APA authorizes the Court to hold unlawful and set aside agency action that is:“(A)

      arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law; (B)

      contrary to constitutional right, power, privilege, or immunity; (C) in excess of statutory

      jurisdiction, authority, or limitations, or short of statutory right; (D) without observance of

      procedure required by law; [or] (E) unsupported by substantial evidence.” 5 U.S.C. § 706(2).

68.   Defendants exceeded their authority under the Trade Act in promulgating Lists 3 and 4 and

      therefore acted “not in accordance with the law” and “in excess of statutory authority” for
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         the reasons set forth in Count One.

69.      Defendants failed to offer any evidence for any asserted “increased burden” from China’s

         intellectual property policies and practices that were the subject of USTR’s Section 301

         investigation.

70.      Defendants also promulgated Lists 3 and 4 in an arbitrary and capricious manner because

         defendants did not provide a sufficient opportunity for comment, failed to meaningfully

         consider relevant factors when making their decisions, and failed to adequately explain their

         rationale. Defendants’ preordained decision-making resulted in the unlawful imposition of

         tariffs on imports covered by List 3 whose value equals $200 billion.

                                       PRAYER FOR RELIEF

Wherefore, Plaintiffs respectfully request that this Court

      1) declare that Defendants’ actions resulting in tariffs on products covered by List 3 are

         unauthorized by, and contrary to, the Trade Act;

      2) declare that Defendants arbitrarily and unlawfully promulgated List 3 in violation of the

         APA;

      3) vacate the List 3 rulemaking;

      4) order Defendants to refund, with interest, any duties paid by Plaintiff pursuant to List 3;

      5) permanently      enjoin   Defendants   from    applying    List   3   against   Plaintiff   and

         collecting any duties from Plaintiff pursuant to List 3;

      6) declare that Defendants’ actions resulting in tariffs on products covered by List 4 are

         unauthorized by, and contrary to, the Trade Act;

      7) declare that Defendants arbitrarily and unlawfully promulgated List 4 in violation of the

         APA;
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  8) vacate the List 4 rulemaking;

  9) order Defendants to refund, with interest, any duties paid by Plaintiff pursuant to List 4;

  10) permanently enjoin Defendants from applying List 4 against Plaintiff and collecting any

     duties from Plaintiff pursuant to List 4;

  11) award Plaintiff their costs and reasonable attorney fees; and grant such other and further

     relief as may be just and proper.

                                                     Respectfully submitted,

                                                      /s/ David J. Craven
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Dated: September 17, 2020
